              Case 24-00138-ELG                   Doc 1      Filed 04/24/24 Entered 04/24/24 17:57:48                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an amended
                                                                                                                              filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                4001 First St SE LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4917 Riding Ridge Court
                                  Laurel, MD 20707
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Prince George's                                                 Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4001 First St SE Washington, DC 20032
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    4001 First St SE LLC                                                                          Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the               Chapter 7
     debtor filing?
                                          Chapter 9
     A debtor who is a “small
                                          Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                                  of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the        Yes.
     debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                   Relationship
                                                 District                                  When                              Case number, if known

Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   4001 First St SE LLC                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor    4001 First St SE LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       April 24, 2024
                                                   MM / DD / YYYY


                              X /s/ Mario Guatemala                                                        Mario Guatemala
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Managing member




18. Signature of attorney     X /s/ Jeffery T. Martin,, Jr.                                                 Date    April 24, 2024
                                  Signature of attorney for debtor                                                 MM / DD / YYYY

                                  Jeffery T. Martin,, Jr. VA71860
                                  Printed name

                                  Martin Law Group PC
                                  Firm name

                                  8065 Leesburg Pike
                                  Suite 750
                                  Vienna, VA 22182
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (703) 223-1822                Email address      jeff@martinlawgroupva.com

                                  VA71860 DC
                                  Bar number and State




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Debtor     4001 First St SE LLC                                                              Case number (if known)
           Name




Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                   Chapter     11
                                                                                                                          Check if this an amended
                                                                                                                          filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     2812 Pomeroy Rd SE LLC                                                  Relationship to you                Associated Matter
           IN THE UNITED STATES
           BANKRUPTCY COURT FOR THE
District   DISTRICT OF COLUMBIA                       When     4/24/24             Case number, if known
Debtor     4257-61 6th Street SE LLC                                               Relationship to you                Associated Matter
           IN THE UNITED STATES
           BANKRUPTCY COURT FOR THE
District   DISTRICT OF COLUMBIA                       When     4/24/24             Case number, if known
Debtor     4318 Halley Terrace SE LLC                                              Relationship to you                Associated Matter
           IN THE UNITED STATES
           BANKRUPTCY COURT FOR THE
District   DISTRICT OF COLUMBIA                       When     4/24/24             Case number, if known
Debtor     4641 Hillside Rd SE LLC                                                 Relationship to you                Associated Matter
           IN THE UNITED STATES
           BANKRUPTCY COURT FOR THE
District   DISTRICT OF COLUMBIA                       When     4/24/24             Case number, if known
Debtor     5012 Bass Place SE LLC                                                  Relationship to you                Associated Matter
           IN THE UNITED STATES
           BANKRUPTCY COURT FOR THE
District   DISTRICT OF COLUMBIA                       When     4/24/24             Case number, if known




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                       )
In re:                                                 )
                                                       )
4001 FIRST ST SE LLC;                                  )       Case No. 24-
                                                       )
                                                       )
                Debtor and Debtor in Possession.       )       Chapter 11
                                                       )

          STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

         I, Mario Guatemala, declare under penalty of perjury that I am the managing member of

4001 FIRST ST SE LLC, and that the following is a true and correct copy of the resolutions

adopted by the managing members of said limited liability company at a special meeting duly

called and held on the 24th day of April 2024.

                "Whereas, it is in the best interest of this limited liability company
                to file a voluntary petition in the United States Bankruptcy Court
                pursuant to Chapter 11 of Title 11 of the United States Code;

                Be It Therefore Resolved, that Mario Guatemala, managing
                member of this limited liability company, is authorized and
                directed to execute and deliver all documents necessary to perfect
                the filing of a Chapter 11 voluntary bankruptcy case on behalf of
                the limited liability company; and

                Be It Further Resolved, that Mario Guatemala, managing member
                of this limited liability company is authorized and directed to
                appear in all bankruptcy proceedings on behalf of the limited
                liability company, and to otherwise do and perform all acts and
                deeds and to execute and deliver all necessary documents on behalf
                of the limited liability company in connection with such
                bankruptcy case, and

                Be It Further Resolved, that Mario Guatemala, of this limited
                liability company is authorized and directed to employ Jeffery T.
                Martin, Jr., attorney and the law firm of Martin Law Group PC to
                represent the limited liability company in such bankruptcy case.”

Date Signed: April 24, 2024                            /s/ Mario Guatemala
                                                       Mario Guatemala, managing member
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                                Resolution of Managing Members
                                               of
                                    4001 FIRST ST SE LLC

        Whereas, it is in the best interest of this limited liability company to file a voluntary

petition in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United

States Code;

        Be It Therefore Resolved, that Mario Guatemala, managing member of this limited

liability company, is authorized and directed to execute and deliver all documents necessary to

perfect the filing of a Chapter 11 voluntary bankruptcy case on behalf of the limited liability

company; and

        Be It Further Resolved, that Mario Guatemala, managing member of this limited liability

company is authorized and directed to appear in all bankruptcy proceedings on behalf of the

limited liability company, and to otherwise do and perform all acts and deeds and to execute and

deliver all necessary documents on behalf of the limited liability company in connection with

such bankruptcy case, and

        Be It Further Resolved, that Mario Guatemala, of this limited liability company is

authorized and directed to employ Jeffery T. Martin, Jr. and John E. Reid, attorneys and the law

firm of Martin Law Group P.C. to represent the limited liability company in such bankruptcy

case.


Date Signed: April 24, 2024                            /s/ Mario Guatemala
                                                       Mario Guatemala, managing member
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 Fill in this information to identify the case:
 Debtor name 4001 First St SE LLC
 United States Bankruptcy Court for the: DISTRICT OF DISTRICT OF                                                                                      Check if this is an
                                                COLUMBIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ALI RAZJOOYAN                                                                          Contingent                      Unknown                        $0.00                      $0.00
 3639 MARTIN                                                                            Unliquidated
 LUTHER KING JR                                                                         Disputed
 AVE SE
 Washington, DC
 20032
 DC Department of                                                                                                    $40,530.00                        $0.00              $40,530.00
 Buildings
 1100 4th Street, SW
 Washington, DC
 20024
 DC Treasurer                                                                                                          $3,371.87                       $0.00                $3,371.87
 1275 K St NW # 600
 Washington, DC
 20005
 DC Water and Sewer                                                                                                  $61,127.72                        $0.00              $61,127.72
 Authority
 1385 Canal Street SE
 Washington, DC
 20003
 Masterpiece Property                                                                   Contingent                      Unknown                        $0.00                      $0.00
 Management, LLC                                                                        Unliquidated
 700 51st St NE                                                                         Disputed
 Washington, DC
 20019




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                            ALI RAZJOOYAN
                            3639 MARTIN LUTHER KING JR AVE SE
                            Washington, DC 20032


                            Andre Hunter
                            4001 1st Street SE, Unit 102
                            Washington, DC 20032


                            DC Department of Buildings
                            1100 4th Street, SW
                            Washington, DC 20024


                            DC Treasurer
                            1275 K St NW # 600
                            Washington, DC 20005


                            DC Water and Sewer Authority
                            1385 Canal Street SE
                            Washington, DC 20003


                            Desiree William
                            4001 1st Street SE, Unit 302
                            Washington, DC 20032


                            Masterpiece Property Management, LLC
                            700 51st St NE
                            Washington, DC 20019


                            Michael D. Nord
                            Gebhardt & Smith LLP
                            One South St., Suite 2200
                            Baltimore, MD 21202


                            Rishida Dinkins
                            4001 1st Street SE, Unit B1
                            Washington, DC 20032
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                            TD Bank
                            Felipe J. Lozano
                            5900 N. Andrews Ave., Suite 200
                            Fort Lauderdale, FL 33309


                            Tedmund Best
                            4001 1st Street SE, Unit B2
                            Washington, DC 20032
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                                                                     United States Bankruptcy Court
                                                                       District of District of Columbia
  In re      4001 First St SE LLC                                                                            Case No.
                                                                                       Debtor(s)             Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 4001 First St SE LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  April 24, 2024                                                         /s/ Jeffery T. Martin,, Jr.
 Date                                                                    Jeffery T. Martin,, Jr. VA71860
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for 4001 First St SE LLC
                                                                         Martin Law Group PC
                                                                         8065 Leesburg Pike
                                                                         Suite 750
                                                                         Vienna, VA 22182
                                                                         (703) 223-1822 Fax:
                                                                         jeff@martinlawgroupva.com




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